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   MILLER, MEYERSON & CORBO
   955 West Side Avenue
   Jersey City, New Jersey 07302
   (201) 333-9000 Fax (201) 333-0918
   Our File No.: 32444
                                                    UNITED STATE DISTRICT COURT
   UNITED STATES OF AMERICA                         DISTRICT OF NEW JERSEY
                                                    CRiMINAl NO 09-501 (SRC)
                                                    CRIMINAL NO.: 09-863 (SRC)
   vs.

   MARK VENTRJCBLLI
                                                            ORDER

                   Defendant


          This matter being opened to the Court by Miller, Mey
                                                                    erson & Corbo, Esqs., attorney for
  defendant, Mark Ventricelli, (Gerald D. Miller, Esq,
                                                         appearing), in the presence of the United
  States Attorney for the District of New Jersey, (Assistan
                                                            t United States Attorney Leslie Faye
  Schwartz, appearing) for an Order modifying the term
                                                          s of the previous “Order Setting Conditions
 of Release” dated November 20, 2009 ; specifically by
                                                           changing the defendant’s classification of
 “Home Confinement” and amending it to one of “Hom
                                                          e Detention” so as to allow for this
 defendant to be employed in a manner approved by the
                                                           pretrial services office or supervising
 officer, and the United States Attorney having noobjecti
                                                            ons and good cause being shown:
         It is on this         day of September, 2010

         ORDERED that the November 20, 2009 “Order Setting Con
                                                                         ditions of Release” be
modified to reflect a change in defendant Mark Ventricel
                                                            li’s requirement of “Home
Incarceration” and amending it to a designation of “Home Dete
                                                                    ntion” for said defendant; and
         IT IS FURTHER ORDERED that the newly imposed “Hom
                                                                        e Detention” designation
shall require defendant, Mark Ventricelli to be restricted to his
                                                                    residence at all times except for
employment; education; religious services; medical; substance abus
                                                                        e; or mental health treatment;
attorney visits; court appearances; court-ordered obligations; or othe
                                                                       r activ ities as pre-approved
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  by the pretrial services office or supervisin
                                               g officer; and
          IT IS FURTHER ORDERED that all other
                                                         terms of release imposed in connection
                                                                                                  with
  Criminal Nos.: 09-501 and 09-863 shall rema
                                                   in in full force and effect.



                                                                                                   -




                                                  Honorable Stanley R. Chesler
                                                  United States District Court Judge


 I hereby consent to the form and entry
 of the within Order;




Barbara Hutchinson
Pro—Trial Services
